          Case 1:19-cv-00300-LKG Document 15 Filed 06/14/19 Page 1 of 2




            JJn tbe Wniteb ~tate.s QCourt of jfeberal QCiaint.s
                                               )
 DAYID L. CALDWELL,                            )
                                               )
                         Plaintiff,            )
                                               )               No. 19-300C
 v.                                            )
                                               )               Filed: June 14, 2019
 THE UNITED STATES,                            )
                                               )
                         Defendant.            )
                                               )
                                               )
------------~)
                                      DISMISSAL ORDER

        Plaintiff prose, David Caldwell, commenced this action on February 19, 2019 (docket
entry no. 1). On April 8, 2019, the government filed a motion to dismiss this matter for lack of
subject-matter jurisdiction, pursuant to Rule 12(b)(l) of the Rules of the United States Court of
Federal Claims ("RCFC") (docket entry no. 8). Plaintiff has also moved to proceed in this matter
in forma pauperis and he has submitted an application for leave to proceed in forma pauperis
(docket entry no. 4 ).

        Plaintiff's response to the govermnent's motion to dismiss was due on May 6, 2019. On
May 10, 2019, the Court issued a Show Cause Order directing plaintiff to explain why he failed
to timely respond to the government's motion to dismiss (docket entry no. 11). In the Order, the
Court informed plaintiff that, should he fail to respond to the government's motion to dismiss by
June 7, 2019, the Court would treat plaintiff's failure to respond as a failure to comply with a
Court Order and to prosecute this matter, pursuant to RCFC 41(b). Plaintiff has not timely filed
a response to the govermnent' s motion to dismiss. RCFC 41 (b ).

        In addition, on May 30, 2019, June 3, 2019, and June 13, 2019, the Clerk's Office
received miscellaneous filings from plaintiff that were not responsive to the government's
motion to dismiss. There is no provision in the RCFC for the filing of these documents.

        In view of the foregoing, the Court:
 Case 1:19-cv-00300-LKG Document 15 Filed 06/14/19 Page 2 of 2



1. GRANTS plaintiffs motion to proceed in forma pauperis;
2. DIRECTS the Clerk's Office to RETURN plaintiffs submissions UNFILED; and
3. DISMISSES the complaint without prejudice, pursuant to RCFC 41(b).

The Clerk' s Office is directed to ENTER final judgment consistent with this Order.

No costs.

IT IS SO ORDERED.




                                                                                      2
